United States District Court
Northern District of California .

Filed 03/29/22

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

DROPLETS, INC., Case No. 12-cv-03733-JST
Plaintiff,
\ VERDICT FORM
YAHOO! INC.,
Defendant.

We, the jury, duly empaneled and sworn in the above-entitled action, answer the questions

posed to us as follows:

Question No. 1:
For each of the following Yahoo! products, has Droplets proven that it is more likely than
not that Yahoo! infringed any of the following claims of the ’745 patent?

“Yes” is a finding for Droplets. “No” is a finding for Yahool!.

Yahoo! Yahoo!
Search Search Yahoo! Mail Yahoo! My Yahoo!
Suggest Histo Yahoo Maps
gees ry
Claim 1 V eS NO \\0 NO NO
Claim 5 NO NO ND NO \\0

If you answered “yes” to any part of Question 1, please answer Question 2. If you

answered “no” to all of Question 1, please stop here, answer no further questions, and have the

presiding juror sign and date this form.

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Question No, 2:

What is the dollar amount Droplets has proven it is entitled to as a reasonable royalty for

past infringement?

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Please answer Question 3.

Question No. 3:

Has Droplets proven that it is more likely than not that Yahoo!’s infringement of the *745

patent was willful? “Yes” is a finding for Droplets. “No” is a finding for Yahoo!.

Yes (Willful) XO No (Not Willful)

Please have the presiding juror sign and date this form.

Dated: 2/24/2022

Signed: Ue Udiny Maly

Presiding Juret ‘

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